Case 3:17-cv-04166-FLW-DEA Document 23 Filed 04/12/18 Page 1 of 2 PageID: 474



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

EDWARD HENDREX,                               §
                                              §
               Plaintiff,                     §    Civil Action No. 3:17-cv-04166-FLW-DEA
                                              §
               v.                             §
                                              §
VERDE ENERGY,                                 §
                                              §
               Defendant.                     §
                                              §
                                              §


                                 NOTICE OF SETTLEMENT

       TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

settlement. The parties anticipate filing a stipulation of dismissal of this action with prejudice

pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



                                              RESPECTFULLY SUBMITTED,

  DATED: April 12, 2018
                                             By: /s/ Amy L. Bennecoff Ginsburg
                                                 Amy L. Bennecoff Ginsburg, Esq.
                                                 Kimmel & Silverman, P.C.
                                                 30 E. Butler Avenue
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                                                  Attorney for the Plaintiff
Case 3:17-cv-04166-FLW-DEA Document 23 Filed 04/12/18 Page 2 of 2 PageID: 475



                               CERTIFICATE OF SERVICE

              I, Amy L. Bennecoff Ginsburg, Esquire, do certify that I served a true and correct

copy of the Notice of Settlement in the above-captioned matter, upon the following via CM/ECF

system:

JILL RACHEL COHEN, ESQ.
ECKERT SEAMANS CHERIN & MELLOT, LLC
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Attorneys for Defendant


Dated: April 12, 2018                      By: /s/ Amy L. Bennecoff Ginsburg
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